  Case 4:15-cv-02915          Document 478      Filed on 12/07/24 in TXSD        Page 1 of 1
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                        IN THE UNITED STATES DISTRICT COURT                         December 09, 2024
                        FOR THE SOUTHERN DISTRJCT OF TEXAS                           Nathan Ochsner, Clerk

                                  HOUSTON D[VISION

LIQUIDPOWER SPECIALTY PRODUCTS                  §

VS                                              §    CIVIL ACTION NO. H: 15-2915
                                                §
BAKER HUGHES, a GE COMPANY, LLC                 §


                                   ORDER OF DISMISSAL


        In accordance with Stipulation of Dismissal with Prejudice filed on December 6, 2024 (Doc.

No. 4 77), this case is DISMISSED with prejudice pursuant to Federal Rule of Civil Procedure

4 l(a)(l )(A)(ii).
                              �
        SIGNED this      //       day of December 2024.




                                                     ' ANDREW S. HANEN c:.::::
                                                    UNITED STATES DISTRJCT JUDGE
